         Case 3:02-cr-00399-JO         Document 537       Filed 07/05/16     Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION



PATRICE LUMUMBA FORD,                                )
                                                     )
                         Petitioner,                 )   CASE NO. 3:02-CR-00399-J0-2
                                                     )
                v.                                   )
                                                     )              OPINION
UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
                         Respondent.                 )




JONES, Judge:


       Petitioner Patrice Lumumba Ford ("Ford") moves the court to reduce his 18-year

sentence for Conspiracy to Levy War against the United States. He claims that the court's ruling

in United States v. Booker, 543 U.S. 220, 268 (2005), which held that sentencing guidelines were

advisory rather than mandatoty, allows for a reduced sentence under 18 U.S.C. § 3582. He also

claims that his rehabilitation efforts while in prison should afford him a reduced sentence under

United States v. Pepper, 562 U.S. 476 (2011). However, after construing the motion in a manner

most favorable to the prose defendant, I conclude the claims for relief lack merit and suppoti.

The motion is DENIED.

II

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         Case 3:02-cr-00399-JO        Document 537        Filed 07/05/16     Page 2 of 6




                                        BACKGROUND

       In 2003, Ford pied guilty to Conspiracy to Levy War against the United States in

violation of 18 U.S.C. § 2384. (#374). Because there are no U.S.S.G. guidelines for violations

of 18 U.S.C.§ 2384, the parties agreed to adopt the sentencing guidelines for treason (U.S.S.G. §

2Ml.l(a)(l)), which carries a Base Offense Level of 43. (#351, p. 5). The patties stipulated to a

three level reduction for acceptance of responsibility under U.S.S.G. § 3El .1. (#351, p. 5-6).

The offense level was fmther reduced by three levels for conspiracy under U.S.S.G. §

2Xl.1 (b)(2), resulting in a Total Offense Level of 37 and a sentencing range of 210-262 months.

(#351, p. 5-6). The patties agreed to recommend an 18 year sentence in the plea agreement,

wherein Ford also waived his right to appeal as long as the sentence was below the statutory

maximum of20 years. (#351, p. 6-7). I adopted the 18 year sentence and rendered a final

judgment on November 24, 2003. (#374, p. 1). Ford is currently serving his sentence at FCI

Lompoc. (#533).

       In 2004, Ford filed a§ 2255 petition to vacate his conviction based on ineffective

assistance of counsel. (#478). In denying Ford's§ 2255 petition, I noted that the original 18

year sentence was "the same sentence I would presently impose now that the guidelines are only

advisory." (#478, p. 3). The Ninth Circuit affitmed the denial on January 3, 2007. (#507). On

December 16, 2015, the Defendant filed the cunent pro se motion for modification of sentence.

                                     LEGAL STANDARD

       The court can only modify a final sentence in limited circumstances. 18 U.S.C. § 3582.

One exception to the general rule of finality occurs when a sentencing range has been

subsequently lowered by the Sentencing Commission and made retroactive under 18 U.S.C. §

3582(c)(2). In these cases, a court may reduce the term of imprisonment after considering
         Case 3:02-cr-00399-JO        Document 537       Filed 07/05/16     Page 3 of 6




factors set forth in § 3553(a) and concluding that the reduction is consistent with applicable

policy statements issued by the sentencing commission. Dillon v. United States, 560 U.S. 817,

824-25 (2010).     A court cannot consider post-sentencing evidence of the defendant's

rehabilitation in order to downgrade the sentence unless the case has been set aside on appeal or

is made available for resentencing. Pepper, 562 U.S. at 491; United States v. Green, 152 F.3d

1202, 1208 (9th Cir. 1998).

                                         DISCUSSION

I. Modification of Sentence Under 18 U.S.C. §3582(c)(2)

       As this is a pro se motion by the Ford, I construe the presented arguments in a light

most favorable to him. United States v. Seesing, 234 F.3d. 456, 462 (2001). Here, it appears.that

Ford is petitioning for a reduced sentence under 18 U.S.C. § 3582(c)(2). The court can modify a

sentence under§ 3582(c)(2) ifthe sentencing range has subsequently been lowered by the

Sentencing Commission pursuant to 28 U.S.C. § 994(o). Seesing, at 462. If the range has been

lowered the cou1t uses existing guidelines as a stmting point before moving on to consider

whether defendant's case should be exempt from guidelines by analyzing the factors outlined in

§ 3553(a). This process includes consideration of whether relevant, post-sentencing

amendments to the U.S.S.G. should be applied retroactively in order to align the sentence with

policy statements set out by the commission. Seesing, at 462. Ford asserts that U.S.S.G.

amendments 506 and 507 should apply retroactively in his case, resulting in a reduced sentence.

       However, Ford fails to recognize that he does not meet the prerequisite for application of

18 U.S.C. §3582(c)(2). Section 3582(c)(2) only applies to a defendant who has been sentenced

to a term of imprisonment "based on a sentencing range that has subsequently been lowered by

the Sentencing Commission . . . ." 18 U.S.C. § 3582(c)(2). Here, the sentencing guideline
         Case 3:02-cr-00399-JO        Document 537      Filed 07/05/16     Page 4 of 6




U.S.S.G. § 2Ml.l(a)(l) (Treason) has not been lowered below Offense Level 43 (210-267

months) since his original conviction and sentencing under that guideline in 2003. U.S.S.G. §

2Ml.l (U.S. Sentencing Comm'n 2015).            Similarly, the adjustments for acceptance of

responsibility and conspiracy remain unaltered since 2003. U.S.S.G. § 3El.1. (U.S. Sentencing

Comm'n 2015); U.S.S.G. § 2Xl.l(b)(2), (U.S. Sentencing Comm'n 2015). Thus, Ford is not

eligible for a reduced sentence under §3582(c)(2).

       Moreover, even if Ford met the precondition for the application of § 3582(c)(2), and

the court considered whether any amendments could apply retroactively pursuant to § 3553(a),

the amendments Ford turns to are inapplicable to his case. Specifically, amendment 506 only

applies to individuals who received enhancements for past criminal records. U.S.S.G. App. C.,

Amend. 506. Ford, who did not have a criminal history, did not receive an enhanced sentence

under these criteria. Similarly, amendment 567 applies to sentencing enhancements that affected

career offenders. U.S.S.G. App. C., Amend. 567. Ford did not receive any career offender

enhancements in his original sentence. He similarly cites the Commission's decision to apply

amendments retroactively for mandatory minimum sentences for crack cocaine offenses.

However, this decision only applied to those convicted for crack cocaine offenses, for which

Ford was not charged or convicted. U.S.S.G §lBI.10; U.S.S.G §2Dl.l (commentary).

       Ford's numerous references to mandato1y and adviso1y guidelines lead me to conclude

that he fundamentally believes that the Court's ruling in Booker, which changed the sentencing

guidelines from mandatmy to advisory, leaves the comt free to modify his sentence. Booker,

543 U.S. at 268. However, subsequent holdings illustrate that while the guidelines are advisory,

they still serve as the starting point for calculating sentences. Pepper, 562 U.S. at 494. There
         Case 3:02-cr-00399-JO        Document 537       Filed 07/05/16     Page 5 of 6




remain only a limited number of instances when departures from the guidelines are pe1missible.

Pepper, 562 U.S. at 494.

       Ford relies on United States v. Hicks, 472 F.3d 1167 (9 1h Cir. 2007) to support his

position that this is an instance where the court should depart from the guidelines and modify his

sentence. In Hicks, the court held that Booker would permit resentencing based on advisory,

rather than mandatory, guidelines in sentence-modification proceedings.       Hicks, 472 F.3d at

1172. However, Ford's reliance on Hicks is misplaced. In Dillon, the Supreme Court abrogated

Hicks and held that Booker did not apply to sentence-modification proceedings, such as those

Ford is requesting. Dillon, 560 U.S. at 829. Fmihermore, in United States v. Cruz, 423 F.3d

1119, 1121 (9th Cir. 2005), the Comi held that 18 U.S.C. § 3582(c)(2) could not be retroactively

applied to final judgements entered before the 2005 Booker decision.        Since final judgment

regarding Ford's sentence was entered in 2003, Cruz prohibits the comi from applying §

3582(c)(2) retroactively. Moreover, when I denied Ford's § 2255 petition in 2005 I reiterated

the fact that Ford's case should be exempt from the guidelines when I wrote that the 18-year

sentence was "the same sentence I would presently impose now that the guidelines are only

advis01y." In sho1i, the authority Ford relies upon is inapplicable to the facts of his conviction

and sentencing and he fails to supp01i his contention that the sentencing guidelines should not

apply to his case. Accordingly, his sentence will not be reduced under 18 U.S.C. § 3582(c)(2).

II. Modification of Sentence for Post-Sentence Rehabilitative Efforts

       To support his petition for a reduced sentence, Ford presents evidence demonstrating that

he engaged in substantial rehabilitative programming at FCI Lompoc. He claims his efforts

allow the comi to reduce his sentence under Pepper. In Pepper, the Court held that a district

court could consider evidence of post-sentencing rehabilitation when a defendant's sentence is
         Case 3:02-cr-00399-JO         Document 537       Filed 07/05/16    Page 6 of 6




·set aside on appeal. Pepper, 562 U.S. at 491. Here, however, Ford's sentence was not set aside

on appeal. Instead, the court entered a final sentencing judgement on November 24, 2003.

Accordingly, Pepper proves inapplicable to Ford's case.

       In short, Ford lacks any legal foundation to suppo1i his claims that his post-sentencing

rehabilitative efforts should result in a reduced sentence. See also Green, 152 F.3d at 1208.

(suggesting that it is inappropriate for the comi to factor rehabilitative efforts into post-

sentencing reductions when laws regarding the original offense had not been changed, as is true

in this case). Ford's sentence will not be reduced.

                                         CONCLUSION

       For the foregoing reasons, Ford's motion to modify and reduce his sentence is DENIED.

       IT IS SO ORDERED.

       DATED this      .S<f day of July, 2016.



                                                      Robert E. one     enior Judge
                                                      United States District Court
